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                    Exhibit 3
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                                                                                 FILED
                                                                              AUG 1 5 MN
RIICER,DANZIG,SCHERER,HYLAND & PERRETTI LLP                               Frank M. Clutfanl, P.J., Ch.
Headquarters Plaza
One Speedwell Avenue
Morristown, NJ 07962-1981
(973)538-0800

Attorneys for Plaintiffs
Johnson & Johnson and Cordis Corporation

                                                   SUPERIOR COURT OF NEW JERSEY
JOHNSON & JOHNSON                   and     CORDIS CHANCERY DIVISION
CORPORATION,                                       MIDDLESEX COUNTY
                                                   DOCKET NO.

                                           Plaintiffs,
                         VS.                                              CIVIL ACTION


INVATEC, LLC, PRESTON HARDAGE, KEVIN                          ORDER TO SHOW CAUSE WITH
BARRINGHAUS,      MICHAEL     LIGUORI,                      TEMPORARY RESTRAINTS AND FOR
TERENCE BATES,and JOHN and JANE DOES.                          ACCELERATED DISCOVERY

                                          Defendants.

       THIS MATTER having been opened to the Court by plaintiffs Johnson & Johnson

("J&J") and Cordis Corporation ("Cordis"), upon plaintiffs' Verified Complaint and supporting

papers in support of its application for temporary restraints pursuant to R. 4:52 and for

accelerated discovery;

              And if being alleged in the Verified Complaint and supporting papers that the

Individual Defendants were employed by Cordis as sales personnel, and that in that capacity, the

Individual Defendants were introduced to, had access to and knowledge of plaintiffs'

confidential, proprietary and trade secret information ("Confidential Information") concerning,

among other things, plaintiffs' customer relationships and information, pricing information and

strategies, pipeline products, sales force plans, marketing and sales plans and business strategies.




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               And it being alleged in the Verified Complaint and supporting papers that the

Individual Defendants, as a condition of their employments, executed Non-Compete

Agreements, which contained, in general, non-disclosure of Confidential Information, non-

compete, customer non-solicitation and employee non-solicitation covenants.

               And it being alleged in the Verified Complaint and supporting papers that the

Individual Defendants tendered their resignation ofemployment from Cordis;

               And it being alleged in the Verified Complaint and supporting papers that each of

the Individual Defendants have already accepted employment with defendant Invatec, Inc.

("Invatec"), a direct competitor of plaintiffs, in a sales capacity;

               And it being alleged in the Verified Complaint and supporting papers that such

employment by the Individual Defendants with Invatec will involve or require the inevitable

disclosure and/or utilization of plaintiffs' Confidential Information, whether consciously or

unconsciously;

               And it being alleged in the Verified Complaint and supporting papers that if the

Individual Defendants are permitted to provide services to Invatec in connection with

cardiovascular and/or endovascular products, where the Individual Defendant would consciously

or unconsciously rely on or utilize plaintiffs' Confidential Information, plaintiffs will suffer

irrunediate and irreparable injury unless plaintiffs receive relief from this Court in the manner

herinafter set for;

               And it appearing that defendants are being provided with notice ofthis application

on or about August 14, 2008; and for good cause shown;

       IT IS on this (C day of           A                      ,2008,



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          ORDERED that defendants appear and show cause before the New Jersey Superior

Court, Chancery Division, Middlesex County, at the Middlesex County Courthouse, 56 Paterson

Street,    New    Brunswick, New       Jersey   08903-0964, on       the       a         day   of
                                       c;        a.m./p.m., or as soon thereafter as counsel may
                         2008, at

be heard, why an order should not be issued preliminarily enjoining and restraining defendants as

follows:

          A.     Enjoining and restraining Hardage and Barringhaus from holding any

employment position or engaging in any employment activity with Invatec, directly or indirectly,

that in any way relates to or involves cardiovascular and endovascular products, or any other

position that would place them in a position of using or disclosing plaintiffs' Confidential

Information, for a period of 2 years from the date hereof for Hardage and 18 months from the

date hereoffor Barringhaus;

          B.     Enjoining and restraining Invatec and its officers, agents and employees from

causing or permitting Hardage, Barringhaus and Otto to hold any employment position or engage

in any employment activity with Invatec, directly or indirectly, that in any way relates to or

involves cardiovascular and endovascular products, or any other position that would place them

in a position of using or disclosing plaintiffs' Confidential Information, for a period of 2 years

for Hardage from thd=clate hereof and 18 months from the date hereof for Barringhaus and Otto;

          C.     Enjoining and restraining Bates and Liguori from holding any employment

position or engaging in any employment activity with Invatec, directly or indirectly, that in any

way relates to or involves Invatec's endovascular products, or any other position that would

place them in a position of using or disclosing plaintiffs' Confidential Information, for a period

of2 years from the date hereof for Bates and 18 months from the date hereoffor Liguori;



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       D.      Enjoining and restraining Invatec and its officers, agents and employees from

causing or permitting Bates and Liguori to hold any employment position or engage in any

employment activity with Invatec, directly or indirectly, that in any way relates to or involves

Invatec's endovascular products, or any other position that would place them in a position of

using or disclosing plaintiffs' Confidential Information, for a period of2 years for Bates from the

date hereof and 18 months from the date hereof for Liguori;

       E.      Enjoining and restraining the Individual Defendants from soliciting any business

from, selling to, or rendering any services to, or, directly or indirectly, helping others solicit

business from or rendering any service or selling to, any of the accounts, customers or clients

with whom they had contact during the last 12 months of employment with Cordis for a period

of2 years from the date hereof for Hard4ge and Bates and for 18 months from the date hereoffor

Barringhaus and Liguori;

       F.      Enjoining and restraining Invatec and its officers, agents and employees from

causing or permitting the Individual Defendants and Otto and Murdock to sell to, or render any

services to, or, directly or indirectly, help others solicit business from or render any service or

selling to, any of the accounts, customers or clients with whom they had contact during the last

12 months of employment with Cordis for a period of 2 years from the date hereof for Hardage

and Bates and for la-Months from the date hereof for Barringhaus, Liguori, Otto and Murdock;

       G.      Enjoining and restraining the Individual Defendants from soliciting or hiring on

their behalf or on behalf of anyone else, including but not limited to Invatec, any employee of

plaintiffs for a period of 12 months from.the date hereof;




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        H.      Enjoining and restraining Invatec and its officers, agents and employees from

causing or permitting the Individual Defendants and Otto and Murdock from soliciting or hiring

on Invatec's behalf; any employee of plaintiffs for a period of 12 months from the date hereof;

        I.      Enjoining and restraining Invatec and its officers, agents and employees from

soliciting or hiring any employee of plaintiffs for a period of 12 months from the date hereof;

        J.      Enjoining and restraining the Individual Defendants from disclosing, using,

disseminating, lecturing upon or publishing any ofplaintiffs' Confidential Information as defmed

in their respective non-compete agreements;

        K.      Enjoining and restraining Invatec and its officers, agents and employees from (1)

causing or permitting the Individual Defendants and Otto and Murdock to disclose or use and (2)

receiving, using and disclosing, plaintiffs' Confidential Information as defined by their

respective non-compete agreements;

        L.       Ordering defendants to turn over and return to plaintiffs all of plaintiffs'

Confidential Information that defendants have removed, copied, taken, used, disseminated or

reviewed, or otherwise have in their possession, custody or control;

        M.       Enjoining and restraining the Individual Defendants from otherwise violating any

ofthe terms oftheir respective non-compete agreements and common law obligations;

        N.      Enjoining and restraining Invatec and its officers, agents and employees from

otherwise causing or permitting the Individual Defendants, Otto, Murdock or any other

employees of plaintiffs to violate any ofterms of respective non-compete agreements or common

law obligations;

        0.       Granting plaintiffs such other and further relief as the Court deems equitable and

just; and it is further




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       ORDERED that pending the return date herein, defendants are temporarily enjoined and

restrained as follows:

       A.      Defendants Hardage and Barringhaus are enjoined from holding any employment

position or engaging in any employment activity with Invatec, directly or indirectly, that in any

way relates to or involves cardiovascular and endovascular products, or any other position that

would place them in a position of using or disclosing plaintiffs' Confidential Information, for a

period of 2 years from the date hereof for Hardage and 18 months from the date hereof for

Barringhaus;

       B.      Invatec and its officers, agents and employees are enjoined from causing or

permitting Hardage, Barringhaus and Otto to hold any employment position or engage in any

employment activity with Invatec, directly or indirectly, that in any way relates to or involves

cardiovascular and endovascular products, or any other position that would place them in a

position of using or disclosing plaintiffs' Confidential Information, for a period of 2 years for

Hardage from the date hereof and 18 months from the date hereof for Barringhaus and Otto;

       C.      Bates and Liguori are enjoined from holding any employment position or

engaging in any employment activity with Invatec, directly or indirectly, that in any way relates

to or involves Invatec's endovascular products, or any other position that would place them in a

position of using or"disclosing plaintiffs' Confidential Information, for a period of 2 years from

the date hereoffor Bates and 18 months from the date hereof for Liguori;

       D.      Invatec and its officers, agents and employees are enjoined from causing or

permitting Bates and Liguori to hold any employment position or engage in any employment

activity with Invatec, directly or indirectly, that in any way relates to or involves Invatec's

endovascular products, or any other position that would place them in a position of using or




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                                                                                            date
disclosing plaintiffs' Confidential Information, for a period of 2 years for Bates from the

hereof and 18 months from the date hereoffor Liguori;

       E.      The Individual Defendants are enjoined from soliciting any business from, selling
                                                                                                from or
to, or rendering any services to, or, directly or indirectly, helping others solicit business

rendering any service or selling to, any of the accounts, customers or clients with whom they had
                                                                                         the
contact during the last 12 months of employment with Cordis for a period of 2 years from

date hereof for Hardage and Bates and for 18 months from the date hereof for Barringhaus and
                                                  •
Liguori;

        F.     Invatec and its officers, agents and employees are enjoined from causing or

permitting the Individual Defendants and Otto and Murdock to sell to, or render any services to,
                                                                                                     any
or, directly or indirectly, help others solicit business from or render any service or selling to,

of the accounts, customers or clients with whom they had contact during the last 12 months of

employment with Cordis for a period of2 years from the date hereof for Hardage and Bates and

for 18 months from the date hereoffor Barringhaus, Liguori, Otto and Murdock;

        G.      Individual Defendants are enjoined from soliciting or hiring on their behalf or on

behalf of anyone else, including but not limited to Invatec, any employee of plaintiffs for a

period of 12 months from the date hereof;

        H.      Invated--- and its officers, agents and employees are enjoined from causing or

permitting the Individual Defendants and Otto and Murdock from soliciting or hiring on

Invatec's behalf, any employee of plaintiffs for a period of 12 months from the date hereof;

        I.     Invatec and its officers, agents and employees are enjoined from soliciting or
                                                                               et,t.t.zwAt;
 hiring any employee of plaintiffs cgoiVp    oPr    d A ro
                                                1 months        ef date c o
                                  A


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       J.      Thc Individual Defendants are enjoined from disclosing, using, disseminating,

lecturing upon or publishing any of plaintiffs' Confidential Information as defined in their

respective non-compete agreements;

       K.      Invatec and its officers, agents and employees are enjoined from (1) causing or

permitting the Individual Defendants and Otto and Murdock to disclose or use and (2)receiving,

using and disclosing, plaintiffs' Confidential Information as defined by their respective non-

compete agreements;

        L.     Defendants are ordered to turn over and return to plaintiffs all of plaintiffs'

Confidential Information that defendants have removed, copied, taken, used, disseminated or

reviewed, or otherwise have in their possession, custody or control;

        M.     The Individual Defendants are enjoined from otherwise violating any of the terms

of their respective non-compete agreements and common law obligations;

        N.     Invatec and its officers, agents and employees are enjoined from otherwise

causing or permitting the Individual Defendants, Otto, Murdock or any other employees of

plaintiffs to violate any of terms of respective non-compete agreements or common law

obligations;

       0.      This Order with these restraints are binding on defendants and their officers,

agents, employees, and attorneys, and upon such persons in active concert or participation with

them; and it is further

        ORDERED that the Individual Defendants and such employees and representatives of

Invatec as plaintiffs may notice in writing, shall appear for depositions at the office of Riker,

Danzig, Scherer, Hyland & Perretti LLP, Headquarters Plaza, One Speedwell Avenue,

Morristown, New Jersey, at such times and at such dates as the parties shall mutually agree to




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within five(5) days after such written notice, and ifthey are unable to do so, on such dates and at

such times as directed by this Court; and it is further

        ORDERED that defendants shall produce the following documents to plaintiffs' counsel

at the abovementioned offices within five(5) days after the entry of this Order:

       (A)     Any employment contracts, confidentiality agreements, restrictive covenants,

non-solicitation agreements and/or non-compete agreements, or any other agreements, and any

drafts thereof, exchanged between Invatec and the Individual Defendants, the Solicited

Employees or any current or former Cordis employee, or that the Individual Defendants will be

required or have already or will be requested to sign in connection with their employment at

Invatec, The Solicited Employees refer to Wierzbicld, Jones, Brophy, Sims, Parke, Armistead,

Wahlstrom, Peters;

       (B)     Copies of all form employment agreements, employment contracts, non-

disclosure agreements, trade secret agreements, confidential information agreements, non-

compete agreements, non-solicitation agreements and/or restrictive covenants utilized by

Invatec;

       (C)     All documents reflecting communications, whether oral, written or electronic that

mentions, refers or relates to Invatec, from May 1, 2008 to the present, between or among (a)

Invatec and the Individual Defendants; (b) Invatec and any other employees of plaintiffs,

including the Solicited Employees;(c) the Individual Defendants and any other employees of

plaintiffs, including the Solicited Employees; and (d) the Individual Defendants themselves.

Invatec, the Individual Defendants, and the other employees of plaintiffs, including the Solicited

Employees, include any of their representatives or agents (including but not limited to any "head

hunter" or employment agency representing the Individual Defendants, Invatec or any of




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plaintiffs' employees). Such documents include, but are not limited to, correspondence, letters,

memoranda and emails, regardless of the media in which the emails are stored and whether such

emails were issued from or received by a work email account or personal email account;

       (D)     All documents reflecting communications, whether oral, written or electronic,

between Invatec and the Individual Defendants and any representatives or agents of Invatec and

the Individual Defendants from May 1, 2008 to the present. Such documents include, but are not

limited to, correspondence, letters, memoranda and emails, regardless of the media in which the

emails are stored and whether such emails were issued from or received by a work email account

or personal email account;

       (E)     All communications that Hardage received or sent from his Invatec email account,

preston.hardage@invatec-us.corn;

       (F)     The presentation that Hardage presented to Jolanta Wierzbicki and Lia Jones;

       (G)     All documents reflecting any type of paymcnts, reimbursements or anything with

any value provided by Invatec to Hardage or any ofthe other Individual Defendants;

       (H)     Any and all documents and/or things provided by the Individual Defendants to

Invatec or by Invatec to the Individual Defendants;

       (I)     Any and all documents, things and Confidential Information as defined above that

the Individual DefetWants have removed from plaintiffs or received in connection with their

employment at plaintiffs, that they have not returned to plaintiffs or that are presently in their

care, custody or control;

       (J)     All documents reflecting the Individual Defendants' job description at Invatec

including, but not limited to, written job descriptions;




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          (K)    All documents concerning the steps Invatec and the Individual Defendants plan to

take to assure that the Individual Defendants do not breach their obligations to plaintiffs in

whatever position they are assigned to at Invatec;

          (L)    All documents concerning the operating divisions of Invatec and how such

operating divisions are kept separate;

          (M) All information concerning Invatec's customer relationships, customer lists,

pricing information and strategies, pipeline products, research and development plans and

efforts, sales force plans, marketing and sales plans, business strategies, cost of operations for all

products, employee lists, contracting strategies, targeting strategies and training information;

          (N)    The Individual Defendants' calendars, date books and/or appointment books for

May 1,2008 to the present; and

          ORDERED that defendants shall be entitled to appropriate reciprocal discovery; and it is

further

          ORDERED that:

          1.    The defendants may move to dissolve or modify the temporary restraints herein

contained on two (2) days notice to plaintiffs' attorneys.

          2.    A copy of this order to show cause, verified complaint, legal memorandum and

any supporting affidavits or certifications submitted in support of this application be served upon

defendants (i) personally, (ii) by overnight delivery and/or facsimile or (iii) by certified mail,

return receipt requested and first class mail, to defendants' office or residence or to the address

of their attorney or registered agent, within           days of the date hereof, in accordance with R.

4:4-3 and R. 4:4-4, this being original process.




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        3.      Plaintiffs must file with the court their proof of service of the pleadings on

defendants no later than three(3) days before the return date,

        4.      Defendants shall file and serve a written response to this order to show cause and

the request for entry of injunctive relief and proof of service by      clfelli-(1         , 2008.
The original documents must be filed with the Clerk of the Superior Court in the county listed

above. A list of these offices is provided. You must also send a copy of your opposition papers
                              C             ,
directly to the Honorable                       whose address is Middlesex County Courthouse, 1

JFK Square, New Brunswick, New Jersey 08903-0964. You must also send a copy of your

opposition papers to the plaintiffs' attorney whose name and address appears above, or to the

plaintiffs, if no attorney is named above. A telephone call will not protect your rights; you must

file your opposition and serve your opposition on your adversary, if you want the court to hear

your opposition to the injunctive relief that plaintiffs are seeking.

        5.      Plaintiffs must file and serve any written reply to defendants' order to show cause

opposition by                     ,  .007. The reply papers must be filed with the Clerk of the
                                  t52"

Superior Court in the county listed above and a copy of the reply papers must be sent directly to

the chambers of Judge CiLiCcel—t

        6.      If defendants do not file and serve opposition to this order to show cause, the

application will be d-ecided on the papers on the return date and relief may be granted by default,

provided that plaintiffs file a proof of service and a proposed form of order at least three days

prior to the return date.

        7.      If plaintiffs have not already done so, a proposed form of order addressing the

relief sought on the return date (along with a self-addressed return envelope with return address

and postage) must be submitted to the court no later than three (3) days before the return date.




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          8.    Defendants take notice that plaintiffs have filed a lawsuit against you in the

Superior Court of New Jersey. The verified complaint attached to this order to show cause states

the basis of the lawsuit. If you dispute this complaint, you, or your attorney, must file a written

answer to the complaint and proof of service within 35 days from the date of service of this order

to show cause; not counting the day you received it.

          These documents must be fled with the Clerk of the Superior Court in the county listed

above. A list of these offices is provided. Include a $135.00 filing fee payable to the "Treasurer

State of New Jersey." You must also send a copy of your Answer to plaintiffs' attorney whose

name and address appear above. A telephone call will not protect your rights; you must file and

serve your Answer (with the fee) or judgment may be entered against you by default. Please

note: Opposition to the order to show cause is not an Answer and you must file both. Please note

further: if you do not file and serve an Answer within 35 days of this Order, the Court may enter

a default against you for the relief that plaintiffs demand.

          9.    If you cannot afford an attorney, you may call the Legal Services office in the

county in which you live. A list of these offices is provided. If you do not have an attorney and

are not eligible for free legal assistance you may obtain a referral to an attorney by calling one of

the Lawyer Referral Services. A list of these numbers is also provided.

          10.   The eourt wilt entertain argument, but not testimony, on the return date of the

order to show cause, unless the court and parties are advised to the contrary no later than ‘-.7

days before the return date.

          No summons shall issue.



                                              Hon.
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ATLANTIC COUNTY:                                    LAWYER REFERRAL
Deputy Mark of the SuperiorCoutt                    (500)348-3444
CM!Division, Dina Elting                            LEGAL SERVICES
1201 Bacharsdi Blvd., Firs1 R.                      (600)348-4200
Atlantic City, NJ 06401

BERGEN COUNTY:                                      LAWYER REFERRAL
Dsorry Clerk of the Supe rt3(Cour(                  (201)468-0044
Case Processing Section, Roan 119                   LEGAL SERVICES
Jogai. Center, 10 Meth St.                          (201)457-2105
Hoar:insult. NJ 07801-0750

BLJRUNGTON COUNTY:                                  LAWYER REFERRAL
°gouty Clerk xl the Swarth/ Court                   (609)261-4562
Central Processing Woe                              LEGAL SERVICES
Alto Judicial intake                                (009)261-1065
FIMF1., Courts Facility
49 Rancocas Rd.
    Noty, NJ 00080

CAMDEN COUNTY:                                      LAWYER REFERRAL
Deputy Clerk of the Superior Court                  (555)984-452.1)
CM Processing Ma                                    LEGAL SERVICES
Ill ft, Nall of Records                             (955)9644010
101 5. Fifth EL
C.Britlen, NJ 08103

CAPE MAY COUNTY:                                    LAWYER REFERRAL
Deputy Clerk it the &prior Court                    (509)453-0313
  N. Mein Street                                    LEGAL SERVICES
Sc.ON-200                                           (500)45-3001
Caps May Court H/J1111, NJ 05210

CUMBERLAND COUNTY:                                  LAWYER REFERRAL
Deputy Clerk at the Superior Court                  (sod)552-02117
CM Case IlAsneosdnant Cline                         LEGAL SERVICES
Broad 8 Fayette Sic, P.O. Box 615                   (550)451.0003
Bridgeton, NJ 08302

ESSEX COUNTY:                                       LAWYER REFERRAL
Deputy Clerk it thi Superior Court                  (973)022-8207
50 West Market Street                               Leo& SERVICES
Roam 131                                            (976)524-4500
Neesre. NJ 07W2

GLOUCESTER COUNTY:                                  LAWYER REFERRAL
Deputy Clerk of the Superior Court                  (650)8484555
CM Case Maragernant Dittos                          LEGAL SERVICES
Agit Intake                                         (555)845-5380
Firm FL, Court House
1 North Broad Street, P.O. Box 120
Woodbury, NJ 05006

HLJE7SON COUNTY: Deputy Mertz/ the Superior Court   LAWYER REFERRAL
Superior Cant, CM Record& Dept                      (201)798-2727
Brennan Cant Housii- 1st Floor                      LEGAL SEM/ICES
653 Newark Are.                                     (201)722-6353
Jersey City, NJ 07305

HUNTEROON COUNTY:
Deputy Clerk it the Superior Court                  LAWYER REFERRAL
Clot Civislon                                       (905)735-2511
55 Park Avenue                                      LEGAL SERVICES
Flemington, NJ o8a22                                (905)782-7979

1AERCER COUNTY:
Deputy Cternt or the Superfor Court                 LAWYER REFERRAL
Lox* Fling Othoe, Courthouse                        (60g) MSS=
175 S. Broad Street, P.O. Boa wan                   LEGAL SERVICES
Trianon, NJ 08850                                   (500)541541240




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 MIDDLESEX COUNTY:                      LAWYER REFERRAL
 Deputy Clerk 1Ihe Superior Couri       (732)828-0a83
Adrninle(ration Bolding                 LEGAL SERVICES
'hid Flow                               (732)249-7660
1 Kennedy Sq., P.O. Box 2833
New Brunswick, NJ 06003-2833

                                        LAWYER REFERRAL
MONMOUTH COUNTY:                        (732)431-1444
Deputy Clerk dth &pond Court            LEGAL SERVICES
Court House                             (732)666-0320
71 Monwnenl Park
P.O. Scut 128e
Freehold, NJ 07723-12112
                                        LAWYER REFERRAL
MORRIS COUNTY;                          (673)207-0882
Deputy Dark d the Superior Court        LEGAL SERVICE!
CM MOM                                  (973)285-0011
30 Scturs4ar P4 P.O. Box 910
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                                        LAWYER REFERRAL
OCEAN COUNTY:                           (732)240-3888
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Court House, Roam 112                   (732)341-2777
118 WastittpLan West
Taw River. NJ 06754
                                        LAWYER REFERRAL
PASSAIC COUNTY:                         (973)2784223
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Cowl House
77 Hagar.SL
Pitman,NJ 07430
                                        LAWYER REFERRAL
SALEM COUNTY:                           (am D36-6628
Deputy Clerk of to Superior Cowl        LEGAL SERVICES
92 Mart* SL,PO. Box 16                  (BIM 461-0003
Steam, NJ 0E07
                                        LAWYER REFERRAL
SOMERSET COUNTY:                        (908)886-7223
Deputy Clerk of Ow Superior Court       LEGAL SERVICES
CM ONlion &Ice                          (008)2314840
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P.O. Bca 3000
Samereele, N.J owe
                                        LAWYER REFERRAL
SUSSEX COUNTY                           (973)267-4812
Deputy Mirk d the Superior Court        LEGAL SERVICES
Sestse County Juddal Center             (973)383-74o3
43-47 Mph Street
Newlin NJ on=

UNION COUNTY:                           LAWYER REFERRAL
Ogee) ,Park d Er.Supenor Cowl           (90)383-4715
lit FL, Court Mown                      LEGAL SERVICES
2 Broad Street                          (9o4)384-4340
Eltrabelh, NJ 072014073             •
                                        LAWYER REFERRAL
WARREN COUNTY.                          (973)297.8082
Deputy Cie* d the Supand Court          LEGAL SERVICES
CM DlyhJon OfIlee                       (973)478-2010
Court House
413 Croond Sheet
Belvidee, NJ 07623-1500




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